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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                 4:18CR3013

      vs.
                                                                  ORDER
MARSHAL MARSHALL,

                     Defendant.


      The court has reviewed Defendant’s motion for release. Defendant
proposes release to live with his brother, a condition of release not available for
the court’s consideration at the time of Defendant’s detention hearing.


      However, based on the evidence presented at the detention hearing,
specifically to include Defendant’s refusal to comply with protective orders and
the admonitions of law enforcement, and the escalation in his alleged behavior
when challenged by law enforcement and others, the court finds Defendant’s
release poses a risk of harm that is not sufficiently ameliorated by the conditions
of release proposed in his motion.


      Accordingly,


      IT IS ORDERED that Defendant’s motion for release, (Filing No. 17), is
denied.


      February 12, 2018.
                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
